                               Case 5:23-cv-11074-JEL-EAS ECF No. 17-21, PageID.1066 Filed 07/22/23 Page 1 of 1




ALL VOTES ARE LINKED TO THE EMAIL IN WHICH IT WAS CAST.
20230206-02                                                                  2/8/23
Motion: Move that the LNC direct the Party Chair to send a cease and desist letter to Mr. Brungardt as the identified Chair of the group falsely claiming to be
the legitimate leadership of the Michigan affiliate of the national Libertarian Party regarding all related activities regarding that claim and the unauthorized use
of our trademarks.


Co-Se_onsors: Bowen, Ford, Harles, Watkins
Member/Alternate         Yes                  No                     Abst.                Did Not Vote Alt Vote       Notes/Misc
Benner/Cowen             X
Blankenship      --                         i                    -                    -                 N/A
Bowen                    X                                                                              N/A
Dugue/Yeniscavich        X
Ecklund/Tuniewicz                                                    X
Eiler/Clark              i
Elliott                  X                                                                              N/A
Ford/Hall                i
Gabbard/Pantlke                             X
Hagopian                 i                -                  -                    -                     N/A
Harlos                   X                                                                              N/A
McArdle                                                              i                                  N/A
Nanna/Daniel                                X
Nekhaila                 i                                                                              N/A
Rufo                     X                                                                              N/A
Smith                    i                                                                              N/A
Watkins/Dassing____X
RUNNING TOTAL                          12                    3                   2                   0 With a vote of 12-3-2-0 the Motion PASSED.
Tally last updated at:                             12:06:38 PM                              7/16/2023




                                                                                 EXHIBIT 60
